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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE

  IVAN M. SUZMAN,                          )
                                           )
                        Plaintiff          )
         v.                                )      Civil No.   05-192-P-S
                                           )
  ADOLPH CRISP, et al.,                    )
                                           )
                        Defendants         )


                         ORDER AFFIRMING THE
              RECOMMENDED DECISION OF THE MAGISTRATE JUDGE


         No objections having been filed to the Magistrate Judge's Recommended

  Decision (Docket No. 47) filed July 12, 2006, the Recommended Decision is

  AFFIRMED. It is ORDERED that Booton-Brown’s Motions to Strike and for a More

  Definite Statement (Docket No. 27) are DENIED. The Motion for an Extension of Time

  to File Answer (Docket No. 27) is GRANTED. The Motion to Dismiss (Docket No. 27)

  is DENIED. Answers for all defendants who have appeared in this action are due by

  SEPTEMBER 1, 2006.

         No objections having been filed to the Magistrate Judge’s Recommended

  Decision (Docket No. 51) filed July 12, 2006, the Recommended Decision is

  AFFIRMED. It is ORDERED that Suzman’s Motion for Summary Judgment (Docket

  No. 38) and his Motion for Default Judgment (Docket No. 39) are DENIED.



                                                  _/s/ George Z. Singal          __
                                                  Chief United States District Judge

  Dated this 2nd day of August, 2006.
